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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

                                          )
 IVAN NIBUR, LAWRENCE ROSS, JASE )            Civil Action No. 15-cv-00634-SLP
 LUNA, MATTHEW WILLENBUCHER,              )
 and the DUANE & VIRGINIA LANIER          )   CLASS ACTION
 TRUST, Individually and On Behalf of All )
 Others Similarly Situated,               )
                                          )
               Plaintiff,                 )
                                          )
        v.                                )
                                          )
 SANDRIDGE MISSISSIPPIAN TRUST I, )
 SANDRIDGE MISSISSIPPIAN TRUST II, )
 TOM L. WARD, JAMES D. BENNETT,           )
 MATTHEW K. GRUBB, RANDALL D.             )
 COOLEY, JIM J. BREWER, EVERETT R. )
 DOBSON, WILLIAM A. GILLILAND,            )
 DANIEL W. JORDAN, ROY T. OLIVER,         )
 JR., JEFFREY S. SEROTA, D. DWIGHT        )
 SCOTT, RAYMOND JAMES &                   )
 ASSOCIATES, INC., MORGAN STANLEY )
 & CO. LLC (F/K/A MORGAN STANLEY )
 & CO INC., MERRILL LYNCH, PIERCE, )
 FENNER & SMITH, INC., CITIGROUP          )
 GLOBAL MARKETS INC., and RBC             )
 CAPITAL MARKETS, LLC,                    )
                                          )
               Defendants.                )
                                          )
 SANDRIDGE ENERGY, INC.,                  )
                                          )
              Nominal Defendant.          )
                                          )




                JOINT STATUS REPORT AND DISCOVERY PLAN

Date of Conference: January 30, 2018

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                                          1
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              Jury Trial Demanded ☑ - Non-Jury Trial □




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1.    BRIEF PRELIMINARY STATEMENT. State briefly and in ordinary language
      the facts and positions of the parties to inform the judge of the general nature of the
      case.

      This is a putative securities class action originally brought on behalf of persons who
      purchased units in SandRidge Mississippian Trust I (“Trust I”), and SandRidge
      Mississippian Trust II (“Trust II”),between April 5, 2011 and November 8, 2012,
      inclusive (the “Class” and the “Class Period”), bringing claims under Sections 10(b)
      and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and under
      Sections 11(a), 12(a)(2) and 15 of the Securities Act of 1933 (the “Securities Act”).

      Trust I is a Delaware statutory trust created by SandRidge Energy, Inc.
      (“SandRidge”) Trust I held its IPO on April 12, 2011. Trust II is a Delaware
      statutory trust created by SandRidge. Trust II held its IPO on April 23, 2012.

      By order dated August 30, 2017, the Court dismissed Plaintiffs’ Securities Act
      claims (ECF No. 129). The remaining Defendants, who are named in the Exchange
      Act claims, are Trust I and certain of SandRidge’s current and former officers, Tom
      L. Ward, James D. Bennett, and Matthew K. Grubb.1 The Exchange Act claims are
      brought on behalf of the entire Class.

      By Order dated September 11, 2017, the Court granted in part and denied in part the
      motions to dismiss Trust I, Ward, Bennett, Grubb, and SandRidge.

      The Defendants deny Plaintiffs’ allegations and deny any wrongdoing or liability,
      as set forth in detail in their respective answers.


2.    JURISDICTION. State the basis on which the jurisdiction of the Court is invoked
      and any presently known objections.

      15 U.S.C. §78aa and 28 U.S.C. §1331

3.    STIPULATED FACTS. List stipulations as to all facts that are not disputed,
      including jurisdictional facts.


1
  Because of its bankruptcy, SandRidge is a nominal defendant in this action, named
solely to the extent necessary to recover from available insurance coverage under any
applicable insurance policy providing coverage to SandRidge for the claims asserted
therein.
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     The Parties agree that the Court has subject matter jurisdiction as well as personal
     jurisdiction over all Parties.
     The Parties are not presently aware of any other undisputed facts but will meet and
     confer throughout the litigation to determine which facts are not in dispute.

4.   CONTENTIONS AND CLAIMS FOR DAMAGES OR OTHER RELIEF
     SOUGHT.

     a.       Plaintiffs:

              Plaintiffs seek recovery of damages caused by Defendants’ violations of the
              securities laws on behalf of themselves and the Class, in an amount to be
              determined at trial.

     b.       Defendant:

              Defendants deny that they have committed any violations of the securities
              laws; deny that Plaintiffs and members of the putative Class sustained any
              damages; deny that Plaintiffs and the putative Class are entitled to any relief;
              and request that judgment be entered in their favor dismissing all claims
              against them with prejudice.

5.   APPLICABILITY OF FED. R. CIV. P. 5.1 AND COMPLIANCE.
     Do any of the claims or defenses draw into question the constitutionality of a federal
     or state statute where notice is required under 28 U.S.C. § 2403 or Fed. R. Civ. P.
     5.1?
                    □ Yes ☑ No

6.   MOTIONS PENDING AND/OR ANTICIPATED (include date of filing, relief
     requested, and date responsive brief to be filed).

     Plaintiffs will file a motion for class certification (see attached Schedule, Exhibit
     A).

     Trust I has a pending Motion for Partial Judgment on the Pleadings, which was filed
     on January 19, 2018. By the Motion, Trust I seeks dismissal of the Exchange Act
     Claim asserted by Trust II unit holders against Trust I. Plaintiffs’ Response to the
     Motion must be filed by February 9, 2018, pursuant to LCvR7.1(g).




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7.   COMPLIANCE WITH RULE 26(a)(1). Have the initial disclosures required by
     Fed. R. Civ. P. 26(a)(1) been made? ☑ Yes □ No

8.   PLAN FOR DISCOVERY.

     A.       The discovery planning conference (Fed. R. Civ. P. 26(f)) was held on
              October 4, 2017.

     B.       The parties anticipate that fact discovery should be completed within 12
              months. See attached schedule (Exhibit A).

     C.       In the event ADR is ordered or agreed to, what is the minimum amount of
              time necessary to complete necessary discovery prior to the ADR session?

              Plaintiffs believe that the Federal Rule of Civil Procedure 30(b)(6) deposition
              of SandRidge is necessary prior to ADR.

              Defendants do not believe that a deposition is necessary prior to ADR and
              have invited Plaintiffs to join a mediation with the common stockholder
              plaintiffs in the related action titled In re SandRidge Energy, Inc. Securities
              Litigation, No. 5:12-cv-01341-W (W.D. Okla.), which is currently scheduled
              for February 9, 2018. Although Defendants have explained their position
              that a joint mediation of these related actions is more likely to lead to a
              settlement, Plaintiffs have declined to participate in the February 9, 2018
              mediation.

              Plaintiffs are of the view that a mediation is more likely to be productive if
              the parties are adequately informed of the strength and weaknesses of their
              claims, and accordingly served a deposition request under Federal Rule of
              Civil Procedure 30(b)(6) on November 15, 2017 (the “Notice”). SandRidge
              has refused to produce a deponent who will testify as to all the topics in the
              Notice until after May 2018. Accordingly, any delay in scheduling the
              mediation is due to SandRidge.

     D.       Have the parties discussed issues relating to disclosure or discovery of
              electronically stored information, including the form or forms in which it
              should be produced, pursuant to Fed. R. Civ. P. 26(f)(3)(C)?

              ☑   Yes □ No

     E.       Have the parties discussed issues relating to claims of privilege or of
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         protection as trial-preparation material pursuant to Fed. R. Civ. P.
         26(f)(3)(D)?

         ☑   Yes □ No

         To the extent the parties have made any agreements pursuant to Fed. R. Civ.
         P. 26(f)(3)(D) and Fed. R. Civ. P. 502(e) regarding a procedure to assert
         claims of privilege/protection after production and are requesting that the
         court include such agreement in an order, please set forth the agreement in
         detail below and submit a proposed order adopting the same.

         The parties are currently negotiating and anticipate submitting an agreed
         upon protective order, subject to the Court’s approval, that will, among other
         things, address a procedure to assert claims of privilege/protection after
         production.

F.       Identify any other discovery issues which should be addressed at the
         scheduling conference, including any subjects of discovery, limitations on
         discovery, protective orders needed, or other elements (Fed. R. Civ. P. 26(f))
         which should be included in a particularized discovery plan.

         Plaintiffs believe that the number of depositions should be increased to 20 in
         light of the numerous fact witnesses in this case. Defendants believe that 20
         depositions per side may be excessive, given the narrow issues that remain
         in the case following the dismissal of Plaintiffs’ claims under the Securities
         Act of 1933, but are willing to meet and confer further with Plaintiffs
         concerning this issue. The parties agree that this issue should be postponed
         until later in the case when it will be more concrete.

         The parties believe that discovery in this action should be coordinated with
         discovery in a related action, In re SandRidge Energy, Inc. Securities
         Litigation, Case No. 5:12-CV-01341-W, currently pending before the
         Honorable Lee R. West of this Court. See ECF 11 (Notice of Companion or
         Related Case). Coordinating discovery in the two actions—which involve
         common defendants and raise nearly identical factual and legal issues—
         would minimize duplicative discovery as well as advance the resolution of
         both cases. The parties will be prepared to discuss potential coordination at
         the status conference, and can also make written submissions on the issue if
         the Court requests.



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9.    ESTIMATED TRIAL TIME: 10 days

10.   BIFURCATION REQUESTED: □ Yes              ☑   No

11.   POSSIBILITY OF SETTLEMENT:                □ Good        ☑   Fair □ Poor

12.   SETTLEMENT AND ADR PROCEDURES:

      A.     Compliance with LCvR 16.1(a)(1) - ADR discussion:         ☑   Yes   □ No

      B.     The parties request that this case be referred to the following ADR process:

             □ Court-Ordered Mediation subject to LCvR 16.3
             □ Judicial Settlement Conference
             ☑ Other: Private mediation
             □ None - the parties do not request ADR at this time.

13.   Parties consent to trial by Magistrate Judge? □ Yes     ☑   No

14.   Type of Scheduling Order Requested. □Standard - ☑ Specialized (If a specialized
      scheduling order is requested, counsel should include a statement of reasons and
      proposal.)

      The parties believe a specialized scheduling order is appropriate, given the
      complexity of this matter and the need for proceedings concerning class
      certification. The parties propose that the Court adopt a scheduling order reflecting
      the deadlines set forth in Exhibit A.




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Submitted this 24th day of January, 2018.



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